AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

                          NDF1, LLC                               )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No.
                                                                  )
    PAUL GOMEZ; NATALIA GOMEZ; NASSAU                             )
  COUNTY T&PVA; “JOHN DOE” and “JANE                              )
   DOE,” the last two names being fictitious, said                )
 parties intended being tenants or occupants, if any,             )
  having or claiming an interest in, or lien upon, the
                      Defendant(s)
          premises described in the complaint
                                                                  )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Paul Gomez                         Nassau County Traffic & Parking Violations Agency
                                       18 Page Drive                  16 Cooper Street West
                                       Hicksville, NY 11801           Hempstead, NY 11550

                                       Natalia Gomez                  "JOHN DOE" and "JANE DOE"
                                       111 Morgan Street              18 Page Drive
                                       Apt 624                        Hicksville, NY 11801
                                       Stamford, CT 06905
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Hasbani & Light, P.C.
                                       Attn: Shauna DeLuca, Esqq.
                                       450 Seventh Avenue, Suite 1408
                                       New York, NY 10123



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
